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             EXHIBIT 34
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          EXHIBIT “E”
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  danderson@wc.com




                                              October 16, 2023


     Via Email (kevin.prussia@wilmerhale.com)

     Kevin S. Prussia, Esq.
     Wilmer Cutler Pickering Hale and Dorr LLP
     60 State Street
     Boston, MA 02109

             Re:      ModernaTX, Inc. v. Pfizer Inc., et al., C.A. No. 1:22-11378-RGS (D. Mass.)

     Dear Kevin,

            On behalf of Defendants Pfizer Inc., BioNTech SE, BioNTech Manufacturing GmbH, and
     BioNTech US Inc., I write regarding the following deficiencies with Plaintiffs’ recent productions,
     our review of which has been ongoing, which reflect a failure to comply with Fed. R. Civ. P. 26;
     D. Mass. L.R. 16.6, 26.1-26.2, and 26.5; D.I. 65 ¶¶ (1)(c)-(d), (1)(f), 2(b), 3(b), 3(j).

             Based on an ongoing review, Pfizer and BioNTech have discovered the absence of any
     documents from a named inventor (Antonin de Fougerolles), and limited productions from all the
     named inventors dating before the alleged priority dates of the asserted patents. Moderna also
     appears to have improperly redacted portions of numerous documents as containing privileged
     information. We have further detected (1) missing or incomplete metadata, (2) illegible
     PowerPoint presentations produced in black and white, (3) improperly marked or designated slip
     sheets, and an (4) inordinate numbers of duplicated files.

             Deficiencies with Named Inventor Productions

            Antonin de Fougerolles: Plaintiffs have not produced any documents identifying named
     inventor Antonin de Fougerolles as a custodian. Please immediately (1) confirm a date certain on
     which his custodial files will be produced or (2) explain the search Plaintiffs have conducted to
     confirm that no such documents are in Plaintiffs’ possession, custody, or control, including (a) the
     relevant details of any applicable document retention policy and (b) the identity of any other
     individuals or entities that may possess Dr. de Fougerolles’ documents relating to the subject
     matter of the ’574 patent.
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        All Named Inventors Before Patent Filing Dates: Plaintiffs have to date produced few
electronic documents from the custodial files of any named inventors of the ’574, ’127, and ’600
patents from the timeframe in which their work allegedly occurred. Specifically, Plaintiffs allege
that the ’127 and ’600 patents are entitled to a priority date of October 22, 2015, but have produced
zero emails and a combined total of 91 electronic documents dated 2015 or earlier from the
custodial files of the two named inventors,                                                    . Even
including documents dated 2016, Plaintiffs have produced a total of 10 emails (all calendar invites)
and a combined total of 133 electronic documents from the custodial files of the two named
inventors discussed above. Plaintiffs likewise claim that the ’574 patent is entitled to a priority
date of April 2, 2012, but have produced zero emails and only 1,131 electronic documents (592 of
which are non-responsive slip-sheets) dated 2012 or earlier from the custodial files of
                                                                                            . Indeed,
across all non-regulatory custodians, Plaintiffs have produced fewer than 150 emails dated 2015
or earlier. In view of these deficiencies, please immediately (1) confirm a date certain on which
productions from the custodial files of the named inventors in these timeframes will be complete,
(2) describe the search Moderna conducted to identify such documents (including the relevant
details of any applicable document retention policy) in these timeframes, and (3) identify any other
individuals or entities that may possess documents from the named inventors in these timeframes
relating to the subject matter of the ’574, ’127 or ’600 patents.

       Improper Redactions for Privilege

        Plaintiffs have produced at least 103 documents to date that include redactions for allegedly
privileged information. The documents identified in Attachment 2, however, were redacted for
privilege even though the nature of the asserted privilege cannot be ascertained. Many do not
appear to reference any attorney in the document, while others appear to be third-party documents
or do not, from context, clearly reflect legal advice at each redaction. In all of these documents, it
appears that the redacted portions do not all reflect privileged attorney-client communication,
attorney work product, or any other protected information. Accordingly, Pfizer and BioNTech
request that Moderna produce non-redacted versions of these documents forthwith. If Moderna
continues to claim privilege, then, pursuant to Paragraph 1(f)(iii) of the ESI Order, please identify
the documents and the bases of the privilege claims in Moderna’s forthcoming privilege log,
though, based on context, we question the legitimacy of any such claims and reserve the right to
challenge them.

       Deficiencies More Generally

       First, Plaintiffs failed to provide certain metadata fields required under the Court’s ESI
Order. See D.I. 65 ¶ 3(j). For example, Plaintiffs have produced approximately 14,028 of 38,556
emails, meeting requests, and calendar invites with missing “From/Sender” metadata. Those
emails also do not include any “From/Sender” information in the imaged files to enable Pfizer and
BioNTech to identify who sent the email. See, e.g., MOD_000746172; MOD_000876128;


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MOD_000331435. Plaintiffs have also not produced the file extensions for roughly 44,879
documents. Please provide this metadata immediately.

        Second, Plaintiffs have produced certain PowerPoint presentations in which the words,
figures, graphs, and/or charts are unreadable and/or unintelligible because they are in black and
white. In accordance with the ESI Order, Pfizer and BioNTech request that the documents with
bates numbers listed in Attachment 1 be reproduced in the original color versions with the
appropriate data files. See Attachment 1.

        Third, we note Plaintiffs have produced numerous slip sheets marked “Intentionally Left
Blank,” which neither indicate the basis on which a document was withheld nor include any
metadata permitting Pfizer or BioNTech to understand with which family or parent documents the
slip-sheeted documents should be associated. See D.I. 65 ¶¶ 3(k), (m)-(n). Please explain the
reason such documents were withheld and provide all appropriate metadata. See, e.g.,
MOD_000705778; MOD_000722235; MOD_000767976; MOD_000772202; MOD_000828538;
MOD_000842925; MOD_000858428; MOD_000911785; MOD_000922600.

        Fourth, we note that Plaintiffs’ recent production (MOD_019) contained 2,915 copies of
the same three-page PowerPoint presentation. See MOD_000927326-000927328. Please identify
the technical error that led to this result, confirm that no documents were inadvertently withheld
due to the error, or otherwise explain why nearly three thousand versions of the same document
were produced.

        Pfizer and BioNTech continue to review Plaintiffs’ productions and reserve the right to
identify any additional deficiencies. Please correct the deficiencies outlined above no later than
Friday, October 20, 2023.

                                                    Sincerely,

                                                    /s/ Derrick M. Anderson

                                                    Derrick M. Anderson




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                               Attachment 1

MOD_000053775             MOD_000329665              MOD_000333127
MOD_000053777             MOD_000329923              MOD_000333147
MOD_000053779             MOD_000329944              MOD_000333587
MOD_000054106             MOD_000330107              MOD_000333979
MOD_000054112             MOD_000330297              MOD_000334096
MOD_000054131             MOD_000330341              MOD_000334106
MOD_000054149             MOD_000330356              MOD_000334116
MOD_000054152             MOD_000330385              MOD_000334126
MOD_000054159             MOD_000330397              MOD_000334136
MOD_000054164             MOD_000330482              MOD_000334146
MOD_000054191             MOD_000330705              MOD_000334156
MOD_000055441             MOD_000330776              MOD_000334166
MOD_000055500             MOD_000330781              MOD_000334341
MOD_000055514             MOD_000330797              MOD_000334360
MOD_000055522             MOD_000330806              MOD_000334369
MOD_000055529             MOD_000330859              MOD_000336589
MOD_000055631             MOD_000330868              MOD_000336605
MOD_000055645             MOD_000330877              MOD_000336614
MOD_000055675             MOD_000330887              MOD_000336687
MOD_000055695             MOD_000330894              MOD_000336715
MOD_000055709             MOD_000330897              MOD_000336786
MOD_000055775             MOD_000330954              MOD_000336809
MOD_000055812             MOD_000330965              MOD_000336939
MOD_000055846             MOD_000331400              MOD_000337033
MOD_000055897             MOD_000331436              MOD_000337084
MOD_000055915             MOD_000331480              MOD_000337097
MOD_000055935             MOD_000331515              MOD_000337103
MOD_000055969             MOD_000331683              MOD_000337218
MOD_000055990             MOD_000331691              MOD_000338155
MOD_000055991             MOD_000331699              MOD_000338172
MOD_000056021             MOD_000332017              MOD_000338181
MOD_000056071             MOD_000332045              MOD_000338190
MOD_000056090             MOD_000332067              MOD_000338212
MOD_000056095             MOD_000332087              MOD_000339852
MOD_000056104             MOD_000332107              MOD_000339926
MOD_000056215             MOD_000332411              MOD_000339970
MOD_000056281             MOD_000332468              MOD_000340272
MOD_000329422             MOD_000332496              MOD_000340421
MOD_000329451             MOD_000332562              MOD_000340436
MOD_000329464             MOD_000332892              MOD_000340454
MOD_000329549             MOD_000332903              MOD_000340467
MOD_000329607             MOD_000332913              MOD_000340470
MOD_000329647             MOD_000333057              MOD_000340473
MOD_000329654             MOD_000333087              MOD_000340481
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MOD_000340485              MOD_000341226              MOD_000438261
MOD_000340488              MOD_000341278              MOD_000438287
MOD_000340492              MOD_000341482              MOD_000438298
MOD_000340500              MOD_000341516              MOD_000438389
MOD_000340506              MOD_000341531              MOD_000438423
MOD_000340510              MOD_000341552              MOD_000438737
MOD_000340514              MOD_000341575              MOD_000438757
MOD_000340521              MOD_000341586              MOD_000438767
MOD_000340523              MOD_000341617              MOD_000438787
MOD_000340525              MOD_000341633              MOD_000439133
MOD_000340528              MOD_000341654              MOD_000439216
MOD_000340530              MOD_000341665              MOD_000439228
MOD_000340534              MOD_000341674              MOD_000439357
MOD_000340542              MOD_000341680              MOD_000439383
MOD_000340545              MOD_000341696              MOD_000439400
MOD_000340548              MOD_000341794              MOD_000439429
MOD_000340550              MOD_000341838              MOD_000439458
MOD_000340552              MOD_000341873              MOD_000439482
MOD_000340558              MOD_000341881              MOD_000439499
MOD_000340560              MOD_000341984              MOD_000439519
MOD_000340562              MOD_000342042              MOD_000439563
MOD_000340588              MOD_000342072              MOD_000439593
MOD_000340633              MOD_000342324              MOD_000439614
MOD_000340648              MOD_000342352              MOD_000439633
MOD_000340649              MOD_000342537              MOD_000439655
MOD_000340650              MOD_000342628              MOD_000439707
MOD_000340651              MOD_000342741              MOD_000439744
MOD_000340666              MOD_000342778              MOD_000439761
MOD_000340676              MOD_000342910              MOD_000439778
MOD_000340680              MOD_000343004              MOD_000439798
MOD_000340689              MOD_000343043              MOD_000439825
MOD_000340697              MOD_000343052              MOD_000439847
MOD_000340711              MOD_000343091              MOD_000439883
MOD_000340750              MOD_000437884              MOD_000439918
MOD_000340758              MOD_000437914              MOD_000439955
MOD_000341137              MOD_000437938              MOD_000439992
MOD_000341145              MOD_000437991              MOD_000440036
MOD_000341151              MOD_000438025              MOD_000440087
MOD_000341152              MOD_000438050              MOD_000440140
MOD_000341153              MOD_000438184              MOD_000440163
MOD_000341185              MOD_000438191              MOD_000440208
MOD_000341194              MOD_000438214              MOD_000440225
MOD_000341209              MOD_000438253              MOD_000440280
                                     5
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MOD_000440303              MOD_000442615              MOD_000445865
MOD_000440331              MOD_000442634              MOD_000445917
MOD_000440363              MOD_000442775              MOD_000445927
MOD_000440451              MOD_000442786              MOD_000445938
MOD_000440481              MOD_000442882              MOD_000445953
MOD_000440600              MOD_000444733              MOD_000445974
MOD_000440934              MOD_000444788              MOD_000445987
MOD_000440975              MOD_000444794              MOD_000445999
MOD_000440994              MOD_000444811              MOD_000446014
MOD_000441013              MOD_000444830              MOD_000446066
MOD_000441033              MOD_000444838              MOD_000446077
MOD_000441151              MOD_000444864              MOD_000446094
MOD_000441193              MOD_000444894              MOD_000446111
MOD_000441233              MOD_000444929              MOD_000446146
MOD_000441249              MOD_000444959              MOD_000446183
MOD_000441287              MOD_000444984              MOD_000446206
MOD_000441433              MOD_000445037              MOD_000446229
MOD_000441459              MOD_000445070              MOD_000446267
MOD_000441595              MOD_000445084              MOD_000446278
MOD_000441638              MOD_000445098              MOD_000446403
MOD_000441675              MOD_000445113              MOD_000446421
MOD_000441706              MOD_000445226              MOD_000446425
MOD_000441783              MOD_000445335              MOD_000446436
MOD_000441800              MOD_000445364              MOD_000446437
MOD_000441846              MOD_000445390              MOD_000446441
MOD_000441868              MOD_000445399              MOD_000446443
MOD_000441923              MOD_000445400              MOD_000446449
MOD_000441962              MOD_000445453              MOD_000446456
MOD_000442023              MOD_000445553              MOD_000446460
MOD_000442057              MOD_000445568              MOD_000446463
MOD_000442117              MOD_000445573              MOD_000446473
MOD_000442167              MOD_000445590              MOD_000446485
MOD_000442213              MOD_000445599              MOD_000446490
MOD_000442247              MOD_000445617              MOD_000446508
MOD_000442291              MOD_000445633              MOD_000446524
MOD_000442353              MOD_000445657              MOD_000446535
MOD_000442403              MOD_000445658              MOD_000446542
MOD_000442433              MOD_000445659              MOD_000446545
MOD_000442461              MOD_000445667              MOD_000446557
MOD_000442485              MOD_000445730              MOD_000446570
MOD_000442510              MOD_000445750              MOD_000446631
MOD_000442535              MOD_000445779              MOD_000446640
MOD_000442585              MOD_000445833              MOD_000446653
                                     6
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MOD_000446673              MOD_000448755              MOD_000449818
MOD_000446742              MOD_000448759              MOD_000449867
MOD_000446754              MOD_000448771              MOD_000449874
MOD_000446965              MOD_000448775              MOD_000449883
MOD_000447029              MOD_000448780              MOD_000449896
MOD_000447038              MOD_000448785              MOD_000449908
MOD_000447049              MOD_000448806              MOD_000449912
MOD_000447064              MOD_000448833              MOD_000449914
MOD_000447089              MOD_000448848              MOD_000449919
MOD_000447102              MOD_000448867              MOD_000449936
MOD_000447127              MOD_000448885              MOD_000449942
MOD_000447131              MOD_000448894              MOD_000449950
MOD_000447139              MOD_000448898              MOD_000449956
MOD_000447187              MOD_000448936              MOD_000449966
MOD_000447206              MOD_000448941              MOD_000449990
MOD_000447279              MOD_000448946              MOD_000450000
MOD_000447328              MOD_000448991              MOD_000450055
MOD_000447330              MOD_000449041              MOD_000450063
MOD_000447359              MOD_000449094              MOD_000450071
MOD_000447592              MOD_000449147              MOD_000450087
MOD_000447666              MOD_000449178              MOD_000450089
MOD_000447746              MOD_000449230              MOD_000450112
MOD_000447830              MOD_000449369              MOD_000450114
MOD_000447843              MOD_000449388              MOD_000450116
MOD_000447919              MOD_000449423              MOD_000450121
MOD_000448004              MOD_000449451              MOD_000450123
MOD_000448025              MOD_000449468              MOD_000450124
MOD_000448053              MOD_000449471              MOD_000450127
MOD_000448081              MOD_000449479              MOD_000450152
MOD_000448114              MOD_000449490              MOD_000450161
MOD_000448126              MOD_000449509              MOD_000450162
MOD_000448187              MOD_000449537              MOD_000450163
MOD_000448193              MOD_000449564              MOD_000450164
MOD_000448232              MOD_000449604              MOD_000450165
MOD_000448250              MOD_000449665              MOD_000450166
MOD_000448259              MOD_000449671              MOD_000450167
MOD_000448273              MOD_000449681              MOD_000450173
MOD_000448288              MOD_000449690              MOD_000450207
MOD_000448302              MOD_000449711              MOD_000450217
MOD_000448401              MOD_000449721              MOD_000450219
MOD_000448492              MOD_000449731              MOD_000450220
MOD_000448588              MOD_000449779              MOD_000450222
MOD_000448739              MOD_000449792              MOD_000450225
                                     7
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MOD_000450231              MOD_000451028               MOD_000452884
MOD_000450259              MOD_000451031               MOD_000452942
MOD_000450269              MOD_000451035               MOD_000452947
MOD_000450318              MOD_000451098               MOD_000452952
MOD_000450324              MOD_000451167               MOD_000452959
MOD_000450328              MOD_000451179               MOD_000452963
MOD_000450347              MOD_000451208               MOD_000452988
MOD_000450359              MOD_000451316               MOD_000453064
MOD_000450365              MOD_000451620               MOD_000453096
MOD_000450373              MOD_000451666               MOD_000453180
MOD_000450385              MOD_000451684               MOD_000453230
MOD_000450395              MOD_000451699               MOD_000453357
MOD_000450396              MOD_000451715               MOD_000453362
MOD_000450509              MOD_000451772               MOD_000453365
MOD_000450548              MOD_000451777               MOD_000453395
MOD_000450574              MOD_000451849               MOD_000453401
MOD_000450585              MOD_000451868               MOD_000453413
MOD_000450647              MOD_000451895               MOD_000453431
MOD_000450670              MOD_000451919               MOD_000453441
MOD_000450693              MOD_000451933               MOD_000453445
MOD_000450716              MOD_000451941               MOD_000453453
MOD_000450738              MOD_000451986               MOD_000453463
MOD_000450759              MOD_000451998               MOD_000453472
MOD_000450773              MOD_000452016               MOD_000453480
MOD_000450789              MOD_000452073               MOD_000453516
MOD_000450804              MOD_000452148               MOD_000453587
MOD_000450833              MOD_000452151               MOD_000453626
MOD_000450838              MOD_000452190               MOD_000453635
MOD_000450842              MOD_000452202               MOD_000453644
MOD_000450876              MOD_000452268               MOD_000453667
MOD_000450883              MOD_000452313               MOD_000453684
MOD_000450905              MOD_000452394               MOD_000453721
MOD_000450907              MOD_000452466               MOD_000453778
MOD_000450909              MOD_000452537               MOD_000453835
MOD_000450911              MOD_000452565               MOD_000453850
MOD_000450912              MOD_000452587               MOD_000453867
MOD_000450914              MOD_000452716               MOD_000453950
MOD_000450916              MOD_000452741               MOD_000454021
MOD_000450918              MOD_000452796               MOD_000454053
MOD_000450924              MOD_000452833               MOD_000454102
MOD_000450934              MOD_000452842               MOD_000454172
MOD_000450941              MOD_000452853               MOD_000454178
MOD_000450984              MOD_000452880               MOD_000454179
                                      8
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MOD_000454222              MOD_000485556               MOD_000577086
MOD_000454477              MOD_000488329               MOD_000577103
MOD_000454481              MOD_000488823               MOD_000577673
MOD_000454530              MOD_000491633               MOD_000577736
MOD_000454579              MOD_000491736               MOD_000577883
MOD_000454741              MOD_000492584               MOD_000592245
MOD_000454910              MOD_000492603               MOD_000592280
MOD_000454941              MOD_000492799               MOD_000593565
MOD_000454949              MOD_000492819               MOD_000595410
MOD_000454958              MOD_000496962               MOD_000595891
MOD_000454980              MOD_000498351               MOD_000595933
MOD_000454997              MOD_000501144               MOD_000599369
MOD_000455026              MOD_000501158               MOD_000609635
MOD_000455033              MOD_000501184               MOD_000609690
MOD_000455049              MOD_000501207               MOD_000611029
MOD_000455065              MOD_000502396               MOD_000611145
MOD_000455079              MOD_000507292               MOD_000611223
MOD_000455095              MOD_000507322               MOD_000611367
MOD_000455113              MOD_000507400               MOD_000612977
MOD_000455120              MOD_000508084               MOD_000612995
MOD_000455184              MOD_000512301               MOD_000615143
MOD_000456342              MOD_000517342               MOD_000617048
MOD_000458737              MOD_000527105               MOD_000617609
MOD_000465758              MOD_000528173               MOD_000617651
MOD_000466916              MOD_000529865               MOD_000617691
MOD_000470052              MOD_000530895               MOD_000617747
MOD_000470739              MOD_000542812               MOD_000618387
MOD_000473479              MOD_000544621               MOD_000662596
MOD_000477405              MOD_000546469               MOD_000665813
MOD_000477916              MOD_000547402               MOD_000667687
MOD_000478383              MOD_000549754               MOD_000667962
MOD_000478566              MOD_000550554               MOD_000668132
MOD_000480119              MOD_000550835               MOD_000668606
MOD_000481000              MOD_000550891               MOD_000673041
MOD_000481281              MOD_000550975               MOD_000673598
MOD_000482103              MOD_000551042               MOD_000674368
MOD_000482221              MOD_000559796               MOD_000674383
MOD_000482485              MOD_000569794               MOD_000675001
MOD_000482528              MOD_000570472               MOD_000678374
MOD_000482673              MOD_000570973               MOD_000679298
MOD_000484090              MOD_000572123               MOD_000679705
MOD_000484350              MOD_000576399               MOD_000679865
MOD_000485187              MOD_000576690               MOD_000679976
                                      9
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MOD_000680069              MOD_000745947               MOD_000875726
MOD_000680390              MOD_000747363               MOD_000875791
MOD_000680516              MOD_000747376               MOD_000875847
MOD_000680569              MOD_000750319               MOD_000875866
MOD_000680581              MOD_000751396               MOD_000881241
MOD_000680652              MOD_000752177               MOD_000881341
MOD_000684531              MOD_000753047               MOD_000892146
MOD_000685475              MOD_000753346               MOD_000909031
MOD_000686613              MOD_000765370               MOD_000912247
MOD_000687334              MOD_000766230               MOD_000927326
MOD_000687375              MOD_000773413
MOD_000689276              MOD_000773563
MOD_000690569              MOD_000775471
MOD_000691200              MOD_000778255
MOD_000701444              MOD_000778333
MOD_000705049              MOD_000778389
MOD_000705290              MOD_000786067
MOD_000705351              MOD_000787086
MOD_000705480              MOD_000789388
MOD_000705696              MOD_000789808
MOD_000705950              MOD_000791499
MOD_000706047              MOD_000791572
MOD_000706085              MOD_000798795
MOD_000706142              MOD_000799080
MOD_000706364              MOD_000801561
MOD_000707293              MOD_000802530
MOD_000707500              MOD_000822946
MOD_000726014              MOD_000827087
MOD_000728440              MOD_000831414
MOD_000734652              MOD_000833158
MOD_000734870              MOD_000836814
MOD_000736965              MOD_000854660
MOD_000744316              MOD_000855172
MOD_000744511              MOD_000859391
MOD_000744584              MOD_000865124
MOD_000744934              MOD_000871247
MOD_000744980              MOD_000873125
MOD_000745029              MOD_000873203
MOD_000745078              MOD_000874186
MOD_000745130              MOD_000874923
MOD_000745278              MOD_000875364
MOD_000745340              MOD_000875377
MOD_000745458              MOD_000875417
                                     10
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                            Attachment 2

MOD_000055812             MOD_000764558
MOD_000055846             MOD_000764574
MOD_000055935             MOD_000764516
MOD_000280282             MOD_000764590
MOD_000281102             MOD_000926460
MOD_000282515             MOD_000939305
MOD_000284886             MOD_000942401
MOD_000281594             MOD_000959985
MOD_000281610             MOD_000961924
MOD_000283730             MOD_000970447
MOD_000283226             MOD_000970455
MOD_000438298             MOD_000970463
MOD_000466633             MOD_000970493
MOD_000466674             MOD_000970501
MOD_000439563             MOD_000970509
MOD_000442855             MOD_000972317
MOD_000465965             MOD_001015251
MOD_000466610             MOD_001024214
MOD_000597343             MOD_001067289
MOD_000597344             MOD_001249968
MOD_000597345             MOD_000987237
MOD_000597346             MOD_000987239
MOD_000597347             MOD_001015585
MOD_000597348             MOD_001020026
MOD_000597349             MOD_001021317
MOD_000597350             MOD_001086347
MOD_000597351             MOD_001020565
MOD_000597352             MOD_001022201
MOD_000597353             MOD_001022588
MOD_000597354             MOD_001023204
MOD_000597355             MOD_001098878
MOD_000597356             MOD_001118098
MOD_000597357             MOD_001135259
MOD_000597358             MOD_001135263
MOD_000597359             MOD_001141671
MOD_000597360             MOD_001141683
MOD_000597361             MOD_001145743
MOD_000597362             MOD_001145857
MOD_000728616             MOD_001159546
MOD_000728617             MOD_001201427
MOD_000728651             MOD_001244019
MOD_000466611             MOD_001177786
MOD_000598794             MOD_001177793
MOD_000764500             MOD_001220391
MOD_000764542
